                            UNITED STATES DISTRICT COURT
                            MIDDLE DISTRICT OF TENNESSEE
                                 NASHVILLE DIVISION

 UNITED STATES OF AMERICA,                       )
                                                 )
             Plaintiff,                          )
                                                 )
 v.                                              )    No. 3:16-cr-000147-4
                                                 )
 JASON JOHNSTON,                                 )
                                                 )
             Defendant.                          )

                                 MEMORANDUM OPINION

         Jason Johnston is serving an 84-month sentence for distribution of methamphetamine and

seeks compassionate release (Doc. Nos. 458, 487 and 495) because he suffers from essential

(primary) hypertension and high cholesterol that increase his risk of serious illness should he

contract COVID-19. (Doc. No. 505 at 1.) Mr. Johnston has exhausted available administrative

remedies, (Doc. No. 487-1 at 1). His Motion is properly before the Court.

         The Court may grant compassionate release when a defendant is suffering a “serious

physical or medical condition,” which includes a chronic condition that increases one’s risk for

serious illness from COVID-19, if the condition is not well-managed in prison such that it inhibits

his ability to provide self-care. U.S.S.G. § 1B1.13 n.1(A)(ii); see 18 U.S.C. 3582(c)(1)(A); United

States v. DeMille, ___ F. Supp. 3d ___, 2020 WL 2992190, at *4 (D. Or. June 4, 2020). The

Centers for Disease Control and Prevention (“CDC”) recognizes that having essential hypertension

“might increase your risk of severe illness from COVID-19,” and recommends taking medication

as prescribed. 1 CDC, People with Certain Medical Conditions, (updated Nov. 2, 2020),



         1
         The Government incorrectly focuses on the risk of COVID-19 for someone with
pulmonary hypertension—which Mr. Johnston does not have—instead of essential hypertension—
which he does. (Doc. No. 495 at 9–10.) Pulmonary hypertension is a serious heart condition that


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https://www.cdc.gov/coronavirus/2019-ncov/need-extra-precautions/people-with-medical-

conditions.html.

       Mr. Johnston takes one medication to manage his hypertension. Regular blood pressure

readings since August 2019 show that it is very well-controlled. (Doc. No. 497 at 39.) As recently

as July 2020, he reports doing well, and medical reports confirm his controlled hypertension. (Id.

at 1, 14.) Mr. Johnston remains able to provide self-care in prison and his hypertension is not a

serious physical or medical condition. See United States v. Ackerman, No. 11-740-KSM-1, 2020

WL 5017618, at *5 (E.D. Pa. Aug. 25, 2020) (collecting cases denying compassionate release to

defendants with hypertension that is appropriately controlled by medication). His high cholesterol,

a condition the CDC does not currently list as a risk factor for severe illness from COVID-19, is

effectively addressed with one medication. See United States v. Tegeler, No. 3:15-CR-107, 2020

WL 5880962, at *2–3 (E.D. Tenn. Oct. 2, 2020) (denying compassionate release to inmate who

was obese and had high cholesterol); United States v. Sattar, ___ F. Supp. 3d ___, 2020 WL

3264163, at *3 (S.D.N.Y. June 17, 2020) (denying compassionate release to inmate whose high

cholesterol was controlled and capable of medical treatment in prison if it deteriorated).

       Accordingly, the Court will deny Mr. Johnston’s Motion and Supplemental Motion for

Compassionate Release (Doc. Nos. 458 and 487).

       An appropriate order will enter.

                                              ____________________________________
                                              WAVERLY D. CRENSHAW, JR.
                                              CHIEF UNITED STATES DISTRICT JUDGE




bears increased risk of COVID-19, but essential hypertension still “might” present increased risk
of severe illness from COVID-19. CDC, People with Certain Medical Conditions, supra; see
United States v. Ackerman, No. CR 11-740-KSM-1, 2020 WL 5017618, at *5 (E.D. Pa. Aug. 25,
2020) (discussing the difference between pulmonary and essential hypertension).
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